Catherine L. Brabson, #6500
Margaret D. Plane, #9550
Salt Lake City Attorney’s Office
451 South State Street, Suite 505A
P.O. Box 145478
Salt Lake City, Utah 84114-5478
Telephone: (801) 535-7788
Facsimile: (801) 535-7640
catherine.brabson@slcgov.com
margaret.plane@slcgov.com

Attorneys for Defendants


         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                           CENTRAL DIVISION


TYSON POWERS, individually and                            ORDER BASED UPON
as personal representative of the estate of               STIPULATED MOTION TO
ALLEN KEITH NELSON, deceased,                             DISMISS WITH PREJUDICE

       Plaintiffs,

vs.

DAVID CAMPBELL, SLC Police Officer;                       Civil No. 2:12-cv-00851 DN
AUSTIN GOLD, SLC Police Officer; SALT
LAKE CITY, a Municipality; JOHN and/or
JANE DOE POLICE SUPERVISORS 1-10,
Salt Lake City Police Department Supervisors,

       Defendants.                                        Judge David Nuffer


       Based upon the Stipulated Motion to Dismiss, and for good cause appearing,

       IT IS HEREBY ORDERED that the above entitled action be dismissed with prejudice.

Each party is to bear their own attorneys’ fees and costs incurred for this matter.
        DATED this _____ day of January, 2014.




                                                 JUDGE DAVID NUFFER


APPROVED AS TO FORM:



 /s/ Robert B. Sykes
ROBERT B. SYKES
Attorney for Tyson Powers
DATED this 31st day of January, 2014.

HB #35787




                                                                      Page 2
